                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                v.                           )
                                             )        3:12 CR 00159
CHAD EDWARD WARRICK,                         )        Judge Marvin E. Aspen
ANGELA CAMARDA, and                          )
CYNTHIA FAYE HEINZ,                          )
                                             )
                Defendants.                  )

                                             ORDER

         We have reviewed the Government’s motion for an extension of time for the parties to

submit certain pretrial materials (Dkt. No. 90). This motion is hereby granted. The parties shall

submit their proposed voir dire questions, proposed jury instructions, and joint statement of the

nature of the case on or by July 7, 2014, with objections due July 11, 2014.



                                                      SO ORDERED:



                                                      Marvin E. Aspen
                                                      United States District Judge




Dated:          Chicago, Illinois
                June 30, 2014




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